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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )               CASE NO. 8:07CR71
                                             )
             Plaintiff,                      )
                                             )
             vs.                             )           TENTATIVE FINDINGS
                                             )
NOE HERNANDEZ-ROMERO,                        )
                                             )
             Defendant.                      )

      The Court has received the Presentence Investigation Report (“PSR”) and the

Defendant’s objections thereto (Filing No. 153). See Order on Sentencing Schedule, ¶ 6.

The Court advises the parties that these Tentative Findings are issued with the

understanding that, pursuant to United States v. Booker, 543 U.S. 220 (2005), the

sentencing guidelines are advisory.

      The Defendant objects to the following portions of the PSR: ¶ 55 - lack of

adjustment for the safety valve; and ¶ 17 - drug quantity and base offense level.

¶ 55 - Safety Valve

      Paragraph 55 reflects a 2-level downward adjustment for the safety valve. The

objection is denied as moot.

¶ 17 - Base Offense Level

      The plea agreement reached pursuant to Federal Rule of Criminal Procedure

11(c)(1)(B) recommends a base offense level of 32 based on a drug quantity of at least

500 but less than 1.5 kilograms of methamphetamine. The Court’s tentative findings are

that, absent unusual circumstances, the plea agreement should be upheld and the base

offense level should be calculated as level 32.
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       IT IS ORDERED:

       1.     The Defendant’s Objections to the Presentence Investigation Report (Filing

No. 153) are granted in part and denied in part:

              a.     the objections are granted as to ¶ 17 of the PSR;

              b.     the objection to ¶ 55 is denied as moot;

       2.     Otherwise the Court’s tentative findings are that the Presentence

Investigation Report is correct in all respects;

       3.     If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion

challenging these tentative findings, supported by (a) such evidentiary materials as are

required (giving due regard to the requirements of the local rules of practice respecting the

submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary

hearing is requested, a statement describing why an evidentiary hearing is necessary and

an estimated length of time for the hearing;

       4.     Absent submission of the information required by paragraph 3 of this Order,

my tentative findings may become final; and

       5.     Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing.

       DATED this 27th day of September, 2007.

                                           BY THE COURT:


                                           s/Laurie Smith Camp
                                           United States District Judge



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